           Case 2:05-cr-00113-WBS Document 152 Filed 09/18/06 Page 1 of 2
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4
                                 UNITED STATES DISTRICT COURT
5                               EASTERN DISTRICT OF CALIFORNIA
6                                      SACRAMENTO DIVISION
7
8    UNITED STATES OF AMERICA,                             }
                                                           } No. CR-05-113-LKK-4
9                                          Plaintiff,      }
10                                                         } ORDER RE: MOTION TO APPEAR
     vs.                                                   } PRO HAC VICE AND FOR
11                                                         } SUBSTITUTION OF COUNSEL
     EDUARDO PRICE CURIEL,                                 }
12                                                         }
13                                         Defendant.      }

14             Before the Court for resolution is Defendant’s Motion for Order Allowing a Nonresident

15   Counsel to Appear Pro Hac Vice and substitute as his attorney of record. The court having

16   considered the submissions of the defendant, and the court file in the instant action, hereby

17   orders:

18             George Paul Trejo, Jr.’s Motion to Appear Pro Hac Vice is Granted

19             George Paul Trejo, Jr. Motion to Substitute as the attorney of record for the above

20   named defendant is Granted

21             IT IS SO ORDERED.

22             The clerk is directed to file this Order and forward copies to counsel in the above

23   captioned case.

24             DATED this 15th , day of September, 2006.

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26
     Presented by:
27
     Law Offices of Federico Castelan Sayre                      THE TREJO LAW FIRM
28   S/Federico Castelan Sayre                                   S/George Paul Trejo, Jr.
     ORDER RE; MOTION TO APPEAR                                                        GEORGE PAUL TREJO, JR.
                                                                                             TREJO LAW OFFICE
     PRO HAC VICE AND FOR                                                          701 NO. 1ST STREET, SUITE 103
     SUBSTITUTION OF COUNSEL                            - 1-                                   YAKIMA WA 98901
                                                                                                   (509) 452-7777
         Case 2:05-cr-00113-WBS Document 152 Filed 09/18/06 Page 2 of 2
1    Federico Castelan Sayre                                GEORGE PAUL TREJO, JR.
2    Local Counsel for                                      Retained Attorney for
     Mr. Price Curiel                                       Mr. Alvarez Hernandez
3
4
5                               CERTIFICATE OF SERVICE
6
7          I hereby certify that on September 11, 2006, I electronically filed the
8
     foregoing with the Clerk of the Court using the CM/ECF System which will send
9
10   notification of such filing to the following:
11   Mary L. Grad, AUSA               Michael Bradley Bigelow
12   Mary.Grad@usdoj.gov              mbigelow6401@sbcglobal.net

13
14
15   And I hereby certify that I have mailed by United States Postal Service the document
16
     to the following non CM/ECF participants: N/A
17
18
           DATED this 11th day of September, 2006, in Yakima, Washington.
19
20
                                             THE TREJO LAW FIRM
21                                           S/George Paul Trejo, Jr.
                                             GEORGE PAUL TREJO, JR.
22
23
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28
     ORDER RE; MOTION TO APPEAR                                            GEORGE PAUL TREJO, JR.
                                                                                 TREJO LAW OFFICE
     PRO HAC VICE AND FOR                                              701 NO. 1ST STREET, SUITE 103
     SUBSTITUTION OF COUNSEL                         - 2-                          YAKIMA WA 98901
                                                                                       (509) 452-7777
